207 F.3d 667 (D.C. Cir. 2000)
    Brett C. Kimberlin, Appelleev.J. Michael Quinlan, et al., Appellants
    No. 98-5530
    United States Court of AppealsFOR THE DISTRICT OF COLUMBIA CIRCUIT
    Filed April 4, 2000
    
      Appeal from the United States District Court for the District of Columbia(No. 90cv01549)
      On Appellants' Petition for Rehearing En Banc
      BEFORE:  Edwards, Chief Judge;  Silberman, Williams, Ginsburg, Sentelle, Henderson, Randolph, Rogers, Tatel and  Garland, Circuit Judges.
    
    
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      Circuit Judges SENTELLE and Garland did not participate in the matter
    
    
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      A statement of Circuit Judge KAREN LeCRAFT HENDERSON dissenting from the denial of rehearing en banc is attached.
    
    PER CURIAM
    O R D E R
    
      3
      Appellants' petition for rehearing en banc and the response thereto have been circulated to the full court.  The taking of a vote was requested.  Thereafter, a majority of the judges of the court in regular, active service did not vote in favor of the  petition.  Upon consideration of the foregoing, it is
    
    
      4
      ORDERED that the petition be denied.
    
    Henderson, Circuit Judge, dissenting:
    
      5
      I dissent from the denial of the appellants' petition for  rehearing en banc for the reasons set forth in my panel  dissent.  See Kimberlin v. Quinlan, 199 F.3d 496, 504-06  (D.C. Cir. 1999).  Because the record, viewed in the light  most favorable to the appellee, does not establish a constitutional violation, the appellants are entitled to qualified immunity and we should therefore reverse the district court flat  out.  See Siegert v. Gilley, 500 U.S. 226 (1991).  Instead we  remand for the appellee to resume his quest for evidence of  an imagined wrong.  So doing, we waste the time and resources of all involved.
    
    